 

 

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK3")\) =) =

 

Andrew R. Mullings,

Plaintiff; 92° 5

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 1 of 45

 

“2: COMPLAINT

Civil Action #

 

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Defendant 1: Edward Burnett,
Superintendent, Fishkill Correctional Facility

Defendant 2: Michael Daye,

First Dep. Superintendent, Fishkill Correctional Facility
Defendant 3: C. Churns,

Captain, Fishkill Correctional Facility

Defendant 4: Joseph Noeth,

Dep. Comm. Facility Operations, N.Y.D.O.C.S. & C.S.'

Defendant 5: Darren Miller,
Chief Investigator N.Y.D.O.C.S. & C.S. OSP
Defendant 6: C.E.R.T°. Officer, ID#: 17-28

Defendant 7: S. Thompson

Correctional Officer Fishkill Correctional Facility
Defendant 8: M. Pierre’, RN

Fishkill Correctional Facility, Medical Unit
Defendant 9: Gaetan Zamilus, MD

Fishkill Correctional Facility, Medical Unit

JURY TRIAL DEMANDED

Defendant(s) 10 thru 50: John Doe C.E.R.T. Officer(s), #’s 1-40

that searched Housing Unit 10-2

Defendants,
In Their Individual Capacity,

 

I. COMPLAINT

Plaintiff, Andrew R. Mullings, PRO SE, for his complaint states as follows:

II. JURISDICTION AND VENUE

This action arises under and is brought pursuant to 42 U.S.C. §1983 to remedy the deprivation,
under color of law, of rights guaranteed by the Eighth Amendment to the United States Constitution.
This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1343(a} (1), (2), (3), and (4).

Venue properly lies in this District pursuant to 28 U.S.C. §1391(b)(1) and (2) because the events

 

'N_Y.S.D.O.C.& C.S refers to New York State Dep’t of Corr. & Community Supervision

* OSI refers to Office of Special Investigation
4 C.E.R.T refers Correctional Emergency Response Team.

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 2 of 45
given rise to this cause of action occurred at Fishkill Correctional Facility, PO/Box 1245, Beacon, New

York 12508 which is located within the Southern District of the State of New York.

II. PLAINTIFF INFORMATION

 

 

Andrew R. Mullings
Tipot hloppo Raid dl. Tact Blame
TTT St Tat TVET Dist TT Tre

 

Incarcerated Individual Din #: 02-A-2656
Prisoner LD #

 

Fishkill Correctional Facility
Place of Detention

18 Strack Drive, PO/Box 1245

Institutional Address

 

 

 

Beacon New York 12508
City State Zip
IV. PRISONER STATUS

 

Convicted and Sentenced Prisoner

 

V. DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. [f the correct information is not
provided, it could delay or prevent service of the complaint on the defendant. Make sure that the defendants listed
below are identical to those listed in the caption. Attach additional pages as necessary.

Defendant 1: Edward Burnett N/A
First Name Last Name Shield #

 

Superintendent, Fishkill Correctional Facility
Current Job Title (or other identifying information)

 

18 Strack Drive

 

 

 

Current Work Address

Beacon New York 12508

County, City State Zip Code
Defendant 2: Michael Daye N/A

First Name Last Name Shield #

First Dep. Superintendent, Fishkill Correctional Facility
Current Job Title (or other identifying information)

 

18 Strack Drive

 

 

Current Work Address
Beacon New York 12508
County, City State Zip Code

 

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 3 of 45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Defendant 3: C. Churns N/A

First Name Last Name Shield #

Captain, Fishkill Correctional Facility

Current Job Title (or other identifying information)

18 Strack Drive

Current Work Address

Beacon New York 12508

County, City State Zip Code
Defendant 4: = Joseph Noeht N/A

First Name Last Name Shield #

Dep. Comm. Facility Operations, N.Y.D.O.C.S. & CS.

Current Job Title (or other identifying information)

1220 Washington Ave., Building #2

Current Work Address

Albany New York 12226

‘County, City State Zip Code
Defendant 5: Darren Miller N/A

First Name Last Name Shield #

Chief Investigator, N.Y.S.D.0.C. & C.S. OSI

Current Job Title (or other identifying information)

1220 Washington Ave, Building #2

Current Work Address

Albany New York 12226

County, City State Zip Code
Defendant 6:  C.E.R.T. Officer 17 - 28

First Name Last Name Shield #

Corrections Officer

 

Current Job Title (or other identifying information)

Employer Address: !220 Washington Ave

 

 

Current Work Address
Albany New York 12226
County, City State Zip Code

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 4 of 45

Defendant 7: S. Thompson N/A
First Name Last Name Shield #

 

Correctional Officer
Current Job Title (or other identifying information)
18 Strack Drive

 

 

 

Current Work Address

 

 

Beacon New York 12508
County, City State Zip Code
Defendant 8: M. Pierre’
First Name Last Name Shield #

Nurse Fishkill Medical Unit.
Current Job Title (or other identifying information)

 

18 Strack Drive
Current Work Address

 

 

 

Beacon New York 12508

County, City State Zip Code
Defendant 9: Gaetan Zamilus

First Name Last Name Shield #

Doctor, Fishkill Medical Unit
Current Job Title (or other identifying information)

18 Strack Drive
Current Work Address

 

Beacon New York 12508
County, City State Zip Code

 

Defendant(s) 10 thru 50:
John Doe C.E.R.T. Officer(s), #’s N/A
First Name Last Name Shield #

 

Corrections Officers that searched Housing Unit 10-2
Current Job Title (or other identifying information}

 

Employer Address: 1220 Washington Ave

 

 

Current Work Address
Albany New York 12226
County, City State Zip Code
 

 

VI.

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 5 of 45

STATEMENT OF CLAIM

Place(s) of occurrence: — Fishkill! Correctional Facility

Date(s) of occurrence: December 29", 2021 — January, 2022

 

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were harmed,
and how much each defendant was personally involved in the alleged wrongful actions.

1.

On December 24, 2021, an Incarcerated Individual (“I/I”) at Fishkill Correctional Facility
(“Fishkill”) attempted to escape. Because of this incident, and among other things, on or about
December 25"", 2021, the defendant(s) utilized the Correction Emergency Response Team (“CERT”)
squads; Office of Special Investigation (“OSI”); K-9 unit, and another unit wearing military
uniforms were deployed to conduct a retaliatory show of force masqueraded as a facility search to
extract revenge for actions having nothing to do with Andrew Mullings (“Plaintiff”).

Plaintiff’s First Sickness:
On or around December 21, 2021, Plaintiff developed a fever. On December 27, 2021 he was fully

recovered from it.

CERT Officers Arrive at Housing Unit 10-2:
The tragedy began for Plaintiff on December 29, 2021, at approximately 1:50 pm when Plaintiff

was laying down in his heated room, in his bed, when the defendants entered his housing unit (10-2)
at Fishkill, and a CERT Officer 17-28 (“CERT 17-28”) pushed Plaintiff's room door wide open and
said to him; “!!Get the fuck out now!!”’.

As soon as Plaintiff got up out of his bed and walked out of his room, CERT 17-28 aggressively had
the Plaintiff place his hands on the wall; then without pat-frisking Plaintiff's person, he immediately
had Plaintiff remove his hands from the wall and had Plaintiff strip down to his underwear (boxers),
and further had Plaintiff throw all his clothes (sweatshirt, T-shirt, sweatpants, socks, face mask, and

religious headgear) on the dirty ground.

 

 
 

 

5.

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 6 of 45
CERT 17-28 then started to apply unnecessary excessive force upon the Plaintiff by having the
Plaintiff inter-lock his fingers over his head and then CERT 17-28 placed this hand on Plaintiff's
inter-locked fingers and began squeezing on Plaintiff’s fingers tightly, causing pain, and then

instructed the Plaintiff to, step back, turn his head and walk forward.

 

 

As Plaintiff was about to start walking, CERT 17-28 told Plaintiff to wait. This was because Fishkill
Superintendent Edward Burnett (“Supt. Burnett”) was walking by and stopped right in front of the
Plaintiff; who then started to observe the Plaintiffs and the other I/Is semi-nude bodies with our
fingers inter-locked over our heads. Supt. Burnett failed to intervene and stop the deliberate
punishment that we were being subject to.

When Supt. Burnett finished observing us, he started walking towards the back of the housing unit
to the 8-2 recreation room. At which point CERT 17-28 gave Plaintiff a direct order to walk behind
Supt. Burnett; Plaintiff was now walking behind Supt. Burnett with his fingers still inter-locked over
his head while CERT 17-28 continued to apply unnecessary and excessive pressure by squeezing,

causing Plaintiff pain.

CERT Officers Expose Plaintiff to Freezing Weather after Disrobing Him:
When Supt. Burnett turns left into the recreation room, CERT 17-28 ordered Plaintiff to also turn

left behind Supt. Burnett. Upon Plaintiff entering the recreation room, Superintendent Burnett, First
Deputy Superintendent Daye, Deputy Commissioner of Facility Operations Joseph Noeth, Chief
OS] Investigator D. Miller, Captain C. Churns, and other Correctional Executives from Fishkill and
Albany wearing suite jackets were standing in the recreation room condoning and observing CERT
Officer S. Thompson (“CERT Thompson”) who is employed at Fishkill and the other CERT Officer,
intentionally opened all the windows in the recreation room to let in the very cold weather on the
Plaintiffs and the other I/Is semi-nude bodies, to punish us for prior actions of another I/T that had

nothing to do with us.
 

 

9. Upon information and belief, Supt. Burnett and the other Correctional Executives from Fishkill and
Albany condoned the opening of the windows because they failed to intervene by telling the CERT
Officers to close the windows; to keep out the freezing cold air.(See, Exhibit 1 [World weather

report 12/29/2021])

 

10. After CERT Thompson participated in opening the windows, he walked over to the metal detector
and directed CERT 17-28 to bring Plaintiff over to the metal detector. At this point CERT 17-28 let
go of Plaintiff's fingers and had Plaintiff put his hands at his side. CERT Thompson then instructed

Plaintiff to walk around the side of the metal detector and Plaintiff complied with the direct order.

11. Immediately after Plaintiff cleared the metal detector, CERT 17-28 had Plaintiff again inter-lock his
fingers over his head, and once again grabbed Plaintiffs inter-locked fingers and began squeezing
them as if they were made of plastic, causing the Plaintiff substantial pain. Plaintiff asked CERT 17-
28 to stop squeezing his fingers because of the pain; in response CERT 17-28 squeezed even harder
and told Plaintiff to “shut [his] mouth.” Defendants | thru 5 observed and heard the exchange but

failed to intervene. (See, Exhibit 2 [Housing unit log book dated 12/29/2022)).

12. Defendants 1 thru 5 further observed when CERT 17-28 escorted Plaintiff from the metal detector
into one of the side rooms of the recreation room and had Plaintiff remain standing right in front of
the wide open windows where the very cold air was coming in full blast on Plaintiff's semi-nude
body. (See, Exhibit 2, ante.) Plaintiff told CERT 17-28 that “It is freezing back here.” And asked
him to close the windows, and if he could have his cloths to put back on, but Plaintiff was told by
CERT 17-28 to “Shut [his] fucken mouth!”, and to keep his fingers inter-locked over his head.
CERT 17-28 then told other John Doe CERT Officers to watch the Plaintiff because he was going to
search his room and then he left. (See, Exhibit 3 [contraband receipt dated 12/29/2022)).

13. Two male John Doe CERT Officers were standing outside the door watching Plaintiff A female

Officer was also standing outside across the door looking in on the Plaintiff. One of the male CERT

 

 
 

 

Case 7:22-cv-07922-CS Document 2 ‘Filed 09/15/22 Page 8 of 45
Officers told the Plaintiff to “Move up closer to the wall and keep [his] eyes locked on the wall.”
Soon thereafter other I/Is were placed in the same room to remain standing across from the Plaintiff,
14. There were approximately 25, 4’ft. by 8’ft. windows all around the recreation room. All of them

were fully opened by the CERT Officers.

 

 

15. Upon information and belief, CERT 17-28 knew that his fellow CERT Officers had already planned
to open all the windows. CERT 17-28 condoned the opening of the windows when he refused to
close the windows after the Plaintiff asked for the windows to be closed because of the cold. It was
their means of punishing us (myself and other I/Is), 99%-naked in the cold, for the actions of another
I/I’s attempt to escape from the facility.

16. Other housing units were also subject to the same inhumane conditions, forced 99%-naked to freeze
in front of fully open windows. (See, Exhibit 4 [Affidavit #1 I/I Rodriguez])

17. The side recreation room that CERT 17-28 put Plaintiff to stand in was filthy. Upon information and
belief the recreation room had been closed down, on or around 2016, due to mold and other unfit
conditions.

18. Within 30 minutes of standing in front of the wide open windows, Plaintiff's body started to shiver
uncontrollably as a result of the cold air coursing his 99%-naked body. When one of the John Doe
CERT Officers saw Plaintiff shaking he told the Plaintiff to, “[s]tand still and don’t move.” At which
point Plaintiff explained to John Doe #1* that he felt as though his legs were about to give out
because of the uncontrollable shivering. Plaintiff then asked if the windows could be closed;
explaining that he had just gotten over being sick, protesting that he did not want to get sick again.
When Plaintiff pointed this out to the CERT Officers; #1 came close-up to the Plaintiff and yelled
“'! SHUT THE FUCK UP!!”; I/f Eladio Pena also heard this. (See, Exhibit 5 [Affidavit #2 I/I Pena]).

19. Within an hour of Plaintiff standing almost entirely naked in front of the open windows blowing ice

cold air (30° with wind chill); making the room seem like an ice box; while holding his inter-locked

 

4 John Doe CERT #1 who works at Fishkill; is white, around 5°11”, 185Ib; approx. 27yr old, clean shaven with blue eyes,
and blond hair.

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 9 of 45
fingers over his head; was in extreme pain, arms feeling like jelly, and feeling like he was going to
pass out, that he quickly rested his forehead on the wall to stop himself from falling and then quickly
stood back up straight. During the search several I/I passed out in other housing units around the

prison from this inhumane treatment.

 

 

20. After about an hour and a half of standing in the cold, John Doe #1 told Plaintiff, I/I Pena, and the
other I/Is that were standing across from the Plaintiff too switch positions by having us unlock our
fingers from over our heads and inter-lock them behind our backs.

21. This new position caused Plaintiff's shoulders and upper body a great deal of pain because of the
shivering and the way he was ordered to hold his inter-locked hands behind his back; Plaintiff was in
this new position for approximately 40 min.

22. When the CERT Officers finished searching the entire housing unit, Plaintiff suffered another 35

min. of shivering almost naked in the cold before they finally let him return to his heated room.
23. All in all, the Plaintiff was exposed standing almost naked in the freezing cold for approximately 2
and half hours (2 4).

Plaintiff Returns Back to His Room After Search:

24. Once back in his room, he put his clothes back on and the Plaintiff drank several cups of tea to help
warm his body from standing in the freezing cold for that number of hours. It was about 4 hours
before the Plaintiff felt the chill stop coursing through his body.

Plaintiff Starts to Feel Sick After Being Exposed to the Cold:
25. Later that night, Plaintiff, started to cough. On the following night, December 30, 2021, pain took

over the Plaintiffs upper body. As the days proceeded from the 30" to January 9, 2022, Plaintiffs
coughing and pain got worse throughout that whole period. Even when trying to sleep he was in
immense and immobilizing pain, making it nearly impossible for him to care for himself.

26. On January 10, 2022, at approximately 7:50pm, Plaintiff forcing himself through the pain got out of

bed and went to the kitchen to make soup; while attempting to make the soup he was having extreme

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 10 of 45
difficulty breathing and almost fainted. Plaintiff notified the housing unit Officer of his condition,
upon which time the Officer determined that the Plaintiff needed to be seen by the Medical
Department. Despite Plaintiff's deteriorated condition, he was given a pass around 10 min. after

8:00pm and told to walk almost a “4 of a mile to the Clinic.

 

 

Plaintiff Forced to, Walk, to Emergency Sick-Call:

27, In route to the clinic while walking in the hallway, Plaintiff's breathing got worse, to the point that

he started gasping for air. By the time he exited the building his breathing became so bad that he had
to walk slower in the snow to try and catch his breath; Corrections Officer K. Quash noticed
something was wrong with the Plaintiff and asked “Mullings, are you alright”, but Plaintiff did not

answer him because he was unable to speak.

28. When Plaintiff finally arrived at the clinic at 8:30pm, almost 20 min. after he left his housing unit;

he was immediately attended to by Nurse 8. Mukkat (“RN Mukkat”). During her evaluation RN
Mukkat asked the Plaintiff to relay to her how he was feeling; whereupon he expressed through very
few words that he could barely catch a breath and that every breath he did take caused extreme pain.
RN Mokkat, also asked when the symptoms began. Plaintiff, the best he could, explained that prior
to the Facility search he had felt ill on or about December 22, 2021, and recovered around December
27, 2021. Plaintiff then explained that during the Facility search of his housing unit on December 29,
2021 he was made to strip down to only his underwear by the CERT Officers and ordered to stand in
atoom that was in ice box like conditions and that after this he started to fee] ill again which
progressively got worse since that day. (See, Exhibit 6 [Ambulatory Health Record Progress Note
dated 1/10/22]). However, RN Mukkat failed to include in Exhibit 6, that the plaintiff told her that he
got sick again by the CERT Officers.

RN Mukkat Notifies DR Zamilus of Plaintiff's Condition:

29. After evaluating Plaintiff RN Mukkat notified the Fishkill Medical Director Gaetan Zamilus

(“Dr.Zamilus”), by phone, advising him of Plaintiff's condition. Dr. Zamilus thereupon ordered that

the Plaintiff be given a rapid Covid test, and for her to administer 2 liters of oxygen via nasal canula.

10

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 11 of 45
After about an hour, RN Mukkat again contacted Dr. Zamilus, and informed him that the Covid test |
came back negative and that the oxygen was not helping; RN Mukkat was then instructed to contact
and have Plaintiff seen by Tele-Med.

Plaintiff’s Tele-Med Consultation with Dr. Ellis:

 

 

30. During the Tele-Med consultation Plaintiff spoke with a Dr-Elhs explaining to her that he was
forced to stand in only his underwear in a room that was so cold that you could compare it to
standing in a walk-in refrigerator, for more or less 2 4 hours, and that since that time he got sick
again to the point where he was in severe pain and having difficulty breathing which led him to
emergency sick-call that night. Dr. Ellis then ordered RN Mukkat to administer an Albuteral
Nebulizer treatment, and Tylenol. She also instructed her to call an ambulance.

Ambulance Arrives at Fishkill, Takes Plaintiff to St. Luke’s Hospital:

31. Around 10:50pm the ambulance arrived and transferred the Plaintiff to Saint Luke’s Cornwall
Hospital in Newburgh (SLCH). Upon his arrival at SLCH Plaintiff was evaluated in the ER by a Dr.
Scot B. Hill, who diagnosed Plaintiff with pneumonia, and mild hypoxia at 1:13am and with a
deliberate indifference to the Plaintiff's wellbeing; sent him back to Fishkill instead of admitting so
he could receive the proper treatment, inasmuch as, Fishkill’s medical clinic is not properly

equipped. (See, Exhibit 7 [SLCH medical records dated 1/11/22]).

32. A Covid test was also taken at SLCH which was negative. (Exhibit 7, ante)

Plaintiff Returns to Fishkill From SLCH
33. At 5:00am, on January 11, 2022, Plaintiff arrived back at Fishkill’s Medical Clinic. Nurse M.

Pierre’ (RN Pierre’) immediately informed Dr. Zamilus of SLCH’s findings and that the Plaintiff
was given antibiotics and a Z-pac while at SLCH. Zamilus then instructed her to admit the Plaintiff
into the Facility’s infirmary and continue the treatment. During this time the Plaintiff informed
Pierre’ that he was having chest pain when coughing. (See, Exhibit 8 [Ambulatory Health Record

Progress Note dated 1/11/22]).

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 12 of 45
RN K, Jones Observes Plaintiff im Pain:
34. At 5:40am, while in the infirmary RN K. Jones observed Plaintiff breathing shallowly and grunting

while trying to catch his breath; while in the clinic RN Jones also observed seeing the Plaintiff in

agony. When she checked his oxygen levels she found it to be 88% while attempting to talk, and

 

 

91% while at rest. Plaintiff then complained to Jones that the pain was worse when coughing. (bee,
Exhibit, 9 [infirmary progress notes 1/11/22]).

RN M. Pierre’ Acts with Deliberate Indifference:

35. Later that day, RN Pierre’, and Officer J. Lee entered Plaintiff's room in the infirmary and she said
to him to “[g]et up from the bed and let me take your vitals.”; Plaintiff then outstretched his arm and
asked if she could take his vitals while he was laying down because he was in pain and when he sits-
up the pain gets worse and starts coursing through his body and it takes hours before it subsides; she
responded being deliberately indifferent to his condition “I said sit up Now!”. When the Plaintiff
attempted to sit-up he instantly fell back from the pain. Officer Lee then asked Plaintiff if he had
Covid, and after Plaintiff said no, Lee put his arms around the Plaintiff and helped him to sit-up,
after which Pierre’ took his vitals and falsely stated in plaintiffs chart that “he denies pain.” While
making her logbook entry Lee was helping the Plaintiff lay back down because of the pain.

36. Sometime duting the early morning hours, Plaintiff could not sleep because of the difficulty he was
having trying to breath, and because of the pain which was exacerbated by the continuous coughing.
Because of the heightened pain and difficulty breathing, he attempted to push the emergency
intercom button to get help, he found that it did not work; as a result Plaintiff had to painfully fight
his way up out of the bed to get the attention of a nurse or an officer; but, no one was around so he
was left gasping for air.

Nurse C. Bron Argues with Dr. Zamliuss to Send Plaintiff to the Outside Hospital:

37. On January 12, 2022, at around 7:00am, RN C. Bron while doing rounds came into Plaintiff's room
and saw him sitting at a table wheezing with a pillow and sheet sitting on the table so he could rest

his head. Upon seeing the Plaintiff in this way she asked him if he was feeling any better. Plaintiff

12

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 13 of 45
explained to her in very few words that he was feeling worse, and when he speaks the pain is so bad
it feels like he is going to die.

38. After Bron took Plaintiff's vitals, she immediately said to him, “I’m going to get the doctor to send

you out.” When she returned with Dr. Zamilus, he asked Plaintiff what he was felling; in response

 

 

Plaintiff said, “I am in lot of pain; I can’t breathe and when I talk I am in even more pain, and then I
start to gasp for air and I feel like I’m gonna die.” Upon evaluating the Plaintiff, Zamilus instructed
Bron to apply a non-rebreather, and to up the oxygen from 3 liters to 5 liters. At this point Plaintiff
overheard Bron started to argue with Zamilus to send him to an outside hospital; amongst other
things, she was saying to him, “I’m telling you send him to a hospital because something is wrong
with him, and the numbers are not right.” However, Dr. Zamilus, wrongly refused her direction to
hospitalize the Plaintiff and ordered her to take the easier less effective treatment that only delayed
Plaintiff's urgent medical needs.

39, At around 9:10am Nurse Bron checked on the Plaintiff to see if Dr. Zamiluss method of treatment
was working. When she asked the Plaintiff how he feeling now, Plaintiff told her “worse”. Bron then
got angry and said, “[y]ou know what, ’m gonna send you out to Mount Vernon for 8 days.”;
Plaintiff responded by telling her thanks.

Mobile Life Arrives at Fishkill to take Plaintiff to Hospital:

40. At around 9:40am, the Mobile Life personnel arrived in Plaintiff's room in the infirmary, put him
on a stretcher, while on the stretcher in the hallway the male Mobile Life Technician told the
Plaintiff to hang in there. While in the hall Nurse Bron was asked by the male Mobile Life
Technician “[w]here are we taking him?”; Bron answered “Mount Vernon.” At that point the Mobile

Life Technician responded to her “[h]e’s not going to make it to Mount Vernon. We have to take

 

° On August 13,2022, Officer Santiago told Plaintiff that she saw him on the stretcher on Jan. 12", and that she
had expressed to another co-worker that he looked really sick.

13
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 14 of 45
him somewhere closer.” Based upon the Mobile Life Technician’s determination the Plaintiff was
instead transferred at 9:50am to Putnam Hospital Center (PHC) in Carmel, New York’.

Plaintiff Admitted to PHC for 8 Days:
41. On January 12, 2022, at about 10:15am, Plaintiff arrived in the Emergency Room at PHC and was

 

 

diagnosed with bilateral pneumonia, bilateral pulmonary embolism (PE), respiratory failure, anda
chest discomfort. After one of the doctors informed Plaintiff of the diagnosis, he also told the
Plaintiff that he would be admitted into the hospital for 2 weeks because you could have died.
Plaintiff was thereafter given a cocktail of medications, Lovenox, Rocephin, and a vaccine for
pneumonia, to name a few. (See, Exhibit 10 [PHC Diagnosis records]).

42. On January 18, 2022, the results of a negative PCR Covid-19 test while at PHC ruled out Covid as
the cause of Plaintiff's symptoms. (See, Exhibit 11 [PHC records/Covid results}).

h Dr. Janice Wolffriedman falsely wrote in Plaintiff's medical records

43. On the same date January 18
at Fishkill that the Plaintiff was positive for Covid, and Covid pneumonia. (See, Exhibit 12
[Admission & Discharge Summary]).

44, While at the hospital the Plaintiff was in so much pain and weak that he could not sit up or even get
out of bed to use the bathroom; as a result Plaintiff was given sponge baths by a elderly Spanish
woman and her daughter, and a catheter was put in so he could urinate. The Plaintiff was also

coughing up blood.

Plaintiff Returns to Fishkil) for PHC:
45. On January 19, 2022, Plaintiff was discharged from PHC. Upon his arrival back at Fishkill Plaintiff

was once again admitted into Fishkill’s medical infirmary; once there he was continued on the
treatment proscribed at PHC being, Eliquis, Augmentin, Iboproph, and other medications. While in
his room in the infirmary, Plaintiff was attended to by RN Pierre’ who was there to take his vitals;

this time the Plaintiff was able to sit-up on his own and said to her, “see I was telling you that I was

 

° Th May of 2022, Plaintiff went on a medical trip with Officer M. Morton who told the Plaintiff that
he was in the back of the ambulance on Jan. 12" , and that he overheard the EMT tell the driver to go to PHC
because he would not make it to Mount Vernon Hospital.

14

 

 
 

 

Case 7:22-0v-07922-CS Document? Filed 09/15/22 Page 15 of 45
still in pain when I came back from St. Luke’s”, in response Pierre’ stated “St. Luke’s should have
kept you out there when we sent you out the first time.”
46. On January 21, 2022, RN Bron entered the Plaintiffs room and took his vitals. After taking

Plaintiff's vitals Bron asked the Plaintiff how he was feeling; Plaintiff responded, “I feel better.”

 

 

 

Thereupon thanking her for defying Dr. Zamilus and saving his life.
Plaintiff Sent Back to PHC:

47. On January 23, 2022, Bron noticed that Plaintiff's left ankle was swollen; concerned about
additional blood clots, called for an ambulance and seni him back to PHC where a ultra-sound was
conducted; and was negative for clots. Plaintiff was brought back to Fishkill, re-admitted into the
infirmary where he remained until January 28", 2022 and released back to general population’
Institutional Grievance:

48. Plaintiff set forth in a grievance dated February 3, 2022, that the CERT Officers got him sick by
exposing him to the freezing weather. He also asserted that he was badly treated in Fishkill infirmary
by “various nurses”®, and an “African doctor”’ who after being told by RN Bron that plaintiff needed
to “send me to a out side hospital but he refused to do so” [sic] “so she called an ambulance for me
and i was transported to Putnaum Hospital” [sic].

49, On March 3, 2022, the Grievance Committee, (ignoring the abusive conduct of the CERT during the
Facility search), concluded that, “Per. DHS ‘A’ 10 ‘the medical provider at this facility has given the
grievant at this facility all the necessary care afforded to an incarcerated individual while under the

custody of the NY DOCCS.” (Emphasis added).

 

7 On or about February 16, 2022, at a clinic call-out Plaintiff was seen by Nurse Weinrit who while reviewing
Plaintiffs records stated, “Respiratory failure. Dam you could have died.” Also, on or about July 28,2022
while at a scheduled cardiologist appointment, Cardiologist J. Tartaglia, also expressed to the Plaintiff that he
could have died.

* Later discovered that one of the various nurses was RN M. Pierre’.

° Later discovered that the African doctor was Dr. G. Zamilus.

'° Deputy Superintendent of Health Services, A. Akinyombo

15
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 16 of 45
50.The C.O.R.C.’s!! decision concluded that, after an investigation done by the Division of Health
Services, C.O.R.C. concluded that Plaintiff was currently receiving appropriate medical care.
C.O.R.C. further concluded that the CERT issue was untimely. (See, Exhibit 13 [C.O.R.C.

Decision|)'”.

 

 

V. CAUSE(S) OF ACTION:

First Cause of Action:

CERT Officers acts and/or omissions on December 29, 2021, while searching housing unit 10-2;
which caused pain and suffering to the plaintiff constituted Cruel and Unusual Punishment in violation
of the 8" Amendment of the United States Constitution; whereas, on the above date the Defendant(s),
along with the other members of CERT, did force the plaintiff to stand for approx. 2 % hours with his
arms up and hands on his head causing plaintiff unbearable pain. Defendant # 6 did also on the same
date while plaintiff's fingers were inter-locked above his head, did use excessive force by squeezing

plaintiff's inter-locked fingers together for approx. 6 minutes causing excruciating pain.

Second Cause of Action:

The CERT Officers acts and/or omissions, on December 29, 2021, while searching housing unit
10-2, in forcing the plaintiff to stand in only his underwear in near freezing temperatures for approx. 2%
hours; constituted a deliberate indifference to the plaintiff's wellbeing and safety constituting Cruel and
Unusual Punishment in violation of the 8"" Amendment of the United States Constitution; whereas, on
the above date the Defendant(s) did, with deliberate indifference, force plaintiff to disrobe down to his
underwear while they opened all the windows, and forced the plaintiff to stand in near freezing
temperatures for approx. 2 % hours, causing the plaintiff catch pneumonia thereby causing him to suffer

respiratory failure, and bilateral pulmonary embolism (PE) that almost caused his death and ongoing

 

'l Central Office Review Committee
'? Plaintiff was hospitalized before he was able to submit the grievance.

16

 

 
 

 

pain and suffering whereas; plaintiff must now take medication for the rest of his life, and must suffer

Third Cause of Action:

As to Defendants numbered 1 thru 5, acting in their individual capacities as respondeat superior

shorter breath because of scared lungs; all as a direct result of the Defendant’s actions.

 

 

did through their acts and/or omissions, and with a deliberate indifference to plaintiff's wellbeing; did
negligently allow CERT Officers, while working in their individual capacities as subordinates of
Defendants 1-5; to open all the windows and force the plaintiff to disrobe down to only his underwear,

thereafter forcing him to stand in said condition, in near freezing temperatures for approx.2 2 hours, and

did deny him his clothing. As respondeat superior, Defendants 1-5s failure to assert control over the

CERT Officers who opened the windows, and forced the plaintiff to stand in near freezing temperatures

in only his underwear for approx. 2 % hours while in their presence constitutes Cruel and Unusual

Punishment in violation of the 8"" Amendment of the United States Constitution, as though they

committed the acts themselves. Said failure to act did cause the plaintiff to catch pneumonia thereby

causing him to suffer respiratory failure, and bilateral pulmonary embolism (PE) that almost caused his

death and ongoing pain and suffering whereas; plaintiff must now take medication for the rest of his life,

and must suffer shorter breath because of scared lungs; all as a direct result of the Defendants disregard

for the plaintiff's wellbeing.

Fourth Cause of Action:

Dr. Gaetan Zamilus acts and/or omissions were deliberate indifference in delaying Plaintiff's
urgent medical care, when the reason for the 2 % hours delay stem from Zamilus compelling RN C.
Bron to tried a easier and less effective treatment; by having her up the liters from 3 liters to 5 liters and
also had her applied a non-breather to Plaintiff's life threatening conditions, instead of following Bron’s
instruction when she started to argued with Zamilus to immediately send Plaintiff to an outside hospital,
by telling him, among other things, that Plaintiffs vital numbers shows that something serious is wrong
with him; in addition to plaintiff also telling Zamilus. “I am in lot of pain; I can’t breathe and when I talk

I am in even more pain, and then I start to gasp for air and I feel {ike I’m gonna die.”

17
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 18 of 45
Because Zamilus intentionally delayed Plaintiffs urgent medical care to hospitalize him, the
delay worsen Plaintiff's condition that had Mobile Life not taken Plaintiff to a nearby hospital (PHC),

disregarding going to Mount Vernon Hospital, Plaintiff would have die; the fact that he was diagnosed

for respiratory failure, PE, and for chest discomfort on top of his prior diagnosis of pneumonia at SLCH

 

 

when he arrived at PHC; wherefore, Zamilus’ delay violated Plaintiff's 8 Amendment Constitutional

rights.

Fifth Cause of Action:

RN M. Pierte’s acts and /or omissions, on January 12, 2022, after Plaintiff outstretched his arm
and asked for her to take his vitals while he was laying down in the infirmary bed; explaining to her that
the excruciating pain in his body is preventing him from moving or sitting up and that whenever he
moves the pain gets worse, and it takes hours before it settles back to a less painful level; she was
deliberate indifference to plaintiffs wellbeing by causing him more pain when she gave him a direct
order, yelling at him, to sit up in the bed to let her take is vitals. That when Plaintiff's attempted to sit up
he fell right back in the bed on his back because of additional pain; that Officer J. Lee had to put his
arms around Plaintiff and help him to sit up through elevated pain; The acts/omissions of RN Pierre’
constitutes Cruel and Unusual Punishment because every other nurse took Plaintiffs vitals while he was

laying down in his bed in the infirmary and the outside hospitals.

VI. INJURIES
As set forth in § VI, § 1-50 infra, the plaintiff as a direct result of the Defendants acts and/or

omissions caused the plaintiff to catch pneumonia thereby causing him to suffer respiratory failure, and
bilateral pulmonary embolism (PE), that created a grave risk of death and ongoing pain and suffering
whereas; plaintiff must now take medication for the rest of his life, and must suffer shorter breath

because of scared lungs.

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 19 of 45

VII. RELIEF
As a PRO SE litigant with no formal legal training, Plaintiff asks this Court to liberally construe
his complaint; however inartfull it may be plead, to make the strongest argument(s) that they suggest,

and not hold it to the stringent standards then formal pleadings drafted by an attorney.

 

 

WHEREFORE, Plaintiff, Andrew R. Mullings, PRO SE, Prays for and requests that an
ORDER be issued Declaring that the Defendants have acted in violation of the United States
Constitution and for a judgment in his favor and damages in his favor against all Defendants in an
amount sufficient to compensate him for the pain and mental anguish by them due to the deliberate
indifference and intentional misconduct of the Defendant(s) Edward Burnett, Michael Daye, C. Churns,
Joseph Noeth, Darren Miller, CERT Officer # 17-28, 8. Thompson, M. Pierre’, Gaetan Zamilus, and
John Doe CERT Officer(s) Ithru 40 individually and/or as they performed in concert with their
cohort(s).

FURTHER, Plaintiff, Andrew R. Mullings, PRO SE, prays for and requests $10,000,000% as

compensatory damages and /or coverage of all medical bills (including but not limited to medication,
ect.) to be awarded to Plaintiff from the individual named Defendant(s) together with any and all

attorney fees and costs, and for such additional relief as this Court may deem just, proper, and equitable.

FURTHERMORE, Plaintiff, Andrew R. Mullings, PRO SE, prays for and requests

$100,000.00 as punitive damages be awarded to Plaintiff from each named individual Defendant(s).
Pursuant To 28 U.S.C. §1746, I, Andrew R. Mullings, Plaintiff, PRO SE, Declare Under The
Penalty Of Perjury That The Foregoing Is True And Correct To The Best Of My First Hand Knowledge

And Belief.

Respectfully Submitted,

DATED: September 12, 2022
4 ! Wl

Andrew R. Mullings
Plaintiff, PRO SE

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 20 of 45

VII. PLAINTIFFF’S CERTIFICATION AND WARNINGS
By signing below, I certify to the best of my knowledge, information, and belief that: (1) the

complaint is not being presented for an improper purpose (such as to harass, cause unnecessary delay, or

 

 

needlessly increase the cost of litigation), (2) the 5 Causes of Action are supported by existing taw or by
a non-frivolous argument to change existing law; (3) the factual contentions have evidentiary; support
or, if specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Federal Rule of Civil Procedure 11.

I understand that if I file three or more cases while I am a prisoner that are dismissed as
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status in future
cases,

I also understand that prisoners must exhaust administrative procedures before filing an action in
federal court about prison conditions, 42 U.S.C. § 1997 e (a), and that Plaintiffs case may be dismissed
he has not exhausted administrative remedies as required.

I agree to provide the Clerk’s Office with any changes to his address. Plaintiff understands that

his failure to keep a current address on file with the Clerk’s Office may result in the dismissal of this

“ol j2z H uudbiced

 

 

 

 

 

Dated Plaintiff's Signature

Andrew R. Mullings

First Name Middle Name Last Name

Fishkill Corr, Facility, 18 Strack Drive

Prison Address

Beacon, New York 12508-0307

County, City State Zip code

Date on which I am delivering this complaint to prison authorities for mailing: / Z Z z

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. Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 21 of 45

2:15 47 . « 56

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World > United States > New York > Weather in Beacon

Weather in Beacon in December 2021

 

Jan Apr Jul Oct

Feb May Aug Nov
Mar Jun Sep Dec
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Beacon, NY 14-day Weather Forecast -
weathertrends360

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 22 of 45

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Sunday, 26 December

 

 

 

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Monday, 27 December

Night +32° Day oo. #BQ° Cloudy

Tuesday, 28 December

Night +34° Day . +45° Mostly cloudy

Wednesday, 29 December

 

Night +36° Day ~  +39° Cloudy

Thursday, 30 December

|
Night +39° Day a> +43° Cloudy and light rain

Friday, 31 December

Night +43° Day . . *5HQS Cloudy

Average weather in December 2021
19 days

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Case 7:22-cv-07922-CS. Document 2 Filed 09/15/22 Page 24 of 45 .
FORM #2077 (REV. 11/16)

NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
CELL FRISK/CONTRABAND RECEIPT

 

Original — Inmate

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FISH KI CORRECTIONAL FACILITY Cory _- 088
wy I LIES Z “ : - — SF > } |
Date: [APIO hoy 2, 2 Frisk Start Time: f “ry Frisk End Time: > - fie
Inmate Name: MULLING S _ DIN: DZAZLBL _CELLICUBE/ROOM: ZS
Officer Conducting Search: / —2 I .
Print Name Legibly Badge # Signature
ITEMS CONFISCATED OR DAMAGED - WHERE FOUND DISPOSITION OF ITEMS LISTED , |
a
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:_{ “NO CONTRABAND FOUND "k..NO PROPERTY DAMAGED DURING SEARCH

NOTICE TOINMATE: YOU MAY WRITE TO THE DEPUTY SUPERINTENDENT FOR SECURITY WITHIN 7 DAYS OF
THIS RECEIPT REGARDING THE CONFISCATION OR DISPOSITION OF THESE ITEMS.

 

NOTE: DURING THIS CELL FRISK, MY INITIALS BELOW INDICATE THAT THE CELL INTEGRITY CHECK HAS
BEEN COMPLETED AS FOLLOWS:

 

 

 

 

 

FLOORS: mn _ SINK/TOILET: _
AIR VENT: WINDOW CHECKEDINTACT:__ © >~
CEILING: _ i* WALLS: Ca

BARS: {~~ MISC:

 

 

IN ADDITION: THE FOLLOWING ITEMS WERE CHECKED FOR COMPLIANCE:
PROPERTY LIMITS (No more than 4 bags of property):

PHOTOGRAPH/PICTURE COMPLIANCE (No nudes visible frorn the front of cell. All photos/pictures confined in the
appropriate 2’ x 4' section.)
INMATE ID MATCHES CURRENT APPEARANCE (Checked ID to inmate’s current appearance, if the inmate was
present for the search.) :

 

 

 

Comments:

 

 

 

 

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 25 of 45

Ralph Rodriguez
Din#: 1740928

 

Fishkill Correctional Facililty
P.O. Box 1245

Beacon, New York 12508

NEW YORK STATE )

)
COUNTY OF DUTCHESS}

VOLUNTARY AFFIDAVIT

On or about December 24, 2021, there was allegations that an

inmate had attempted to escape walking up to the front gate but was quickly
apprehended.

The facility was closed down that day and reopened the next day
being Saturday and Sunday, and on Monday December 27, 2021, the facility
was locked down and C,.E.R.T was called in. At no time was there just cause
for their deployment.

When C.E.R.T had arrived at Fishkill they went from housing unit
to housing unit severely assaulting inmates, destroying property and violating
inmates constitutional protected rights. I myself was severely beaten and
was a victim of their unjust and unprovoked actions.

I was then stripped down to my boxers and taken to the rec. area
located on 7-1 and kept in front of the open windows in freezing temperature
for hours along with my housing unit.

Sworn to by me

   
 
 
   

 
 
   

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 26 of 45

Eladio Pena, Din:02-A-6417
Fishkill Corr. Facility
PO/Box 1245

Beacon, N.Y. 12508

 

 

SWORN VOLUNARTY AFFIDAVIT

 

 

|, Eladio Pena, being duly sworn make this affidavit on behalf of Andrew Mullings, Din
No. 02-A-2656, based upon my own observations, | do hereby depose the following to be true
to the best of my ability. |

On: December 29, 2021, myself, Mr. Mullings, and a few more I/ls were ordered by

CERT Officers to take off our cloths leaving only our boxers on, and then had us stand in the ©
cold weather inside one of the rooms in the housing unit 10-2 rec. area. We were told to stand
with our hands on top of our head and not to move. | was getting so cold in there | was about
to ask the Officer if the window could be closed; but before | was able to say anything, Mr.
Mullings spoke up and asked if the windows could be closed because he was cold and that he
had just gotten over being sick with a fever; at which paint the CERT Officer walked up to Mr.
Mullings and told him very aggressively to “shut his fucken mouth!”, so | myself decided not to
say anything about the windows being open.

Sworn to By Me

   

SWORN TO BEFORE ME

This day ot aes 002

~ Notary Public ~

Eladio Pena,

BARBARA A FREESE
NOTARY PUBLIC-STATE OF NEW YORK
No, 01FR636184 _—
Qualitied in Dutchess County 5

i4yv Commission Expires 07-17-2085

 
 

 

‘Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 27 of 45
» FORM 3105 (11/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
AMBULATORY HEALTH RECORD PROGRESS NOTE

 

 

 

 

 

 

 

 

 

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Continue entry into next box if necessary.

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 28 of 45

AFTER VISIT SUMMARY Montefiore | St. Luke's Cornwall

f~ Andrew Mulings man: 09562331 Dos: 11/29/1976 fal 1/10/2022 @ SLC EMERGENCY DEPARTMENT 845-568-2305

SE a

Instructions

f Azithromycin 500mg IV given in the emergency department. Will need
_ iy.

Read the attached information
Pneumonia (English)

 

 

 

 

Ss Follow up with Cornerstone Family Health Cent,
MD

Contact: 147 LAKE ST
Newburgh NY
845-563-8000

 

Ss Follow up with CRYSTAL RUN HEALTH CARE
- Contact: 155 Crystal Run Road
Middletown New York 10941

 

What's Next>

You currently have no upcoming appointments scheduled,

 

Montefiore MyChart Sign-Up

Send messages to your doctor, view your test results, renew your
prescriptions, schedule appointments, and more.

Go to https://mychart.montefiore.org/MyChart/, click "sign Up
Now”, and enter your personal activation code: 7ZX4T-C4ZD6-
KB9K1. Activation code expires 1/25/2022.

 

 

You are allergic to the following

No active allergies

 

Changes to Your Medication List

You have not been prescribed any medications,

 

 

Andrew Mulings (MRN: 09562331) « Printed at 1/11/22 3:59 AM Page lof3 Epic

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 29 of 45

[S| § Attached Information Pneumonia (English)

 

C Pneumonia: Care Instructions

 

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Overview

 

 

 

 

 

Pneumonia is an infection of the lungs. Most cases are caused by infections from bacteria or viruses. _
Pneumonia may be mild or very severe. If it is caused by bacteria, you will be treated with antibiotics, it may take a few

weeks to a few months to recover fully from pneumonia, depending on how sick you were and whether your overall
health is good.

Follow-up care is a key part of your treatment and safety. Be sure to make and go to all appointments, and call your
doctor if you are having problems. It's also a good idea to know your test results and keep a list of the medicines you
take.

How can you care for yourself at home? -

* Take your antibiotics exactly as directed. Do not stop taking the medicine just because you are feeling better. You
need to take the full course of antibiotics.

* Take your medicines exactly as prescribed. Call your doctor if you think you are having a problem with your
medicine.

* Get plenty of rest and sleep. You may feel weak and tired for a while, but your energy level will improve with time.
* To prevent dehydration, drink plenty of fluids. Choose water and other clear liquids. If you have kidney, heart, or
liver disease and have to limit fluids, talk with your doctor before you increase the amount of fluids you drink.

* Take care of your cough so you can rest, A. cough that brings up mucus from your lungs is common with
pneumonia. It is one way your body gets rid of the infection. But if coughing keeps you from resting or causes
severe fatigue and chest-wall pain, talk to your doctor. Your doctor may suggest that you take a medicine to
reduce the cough.

* Use a vaporizer or humidifier to add moisture to your bedroom. Follow the directions for cleaning the machine.

* Do not smoke or allow others to smoke around you. Smoke will make your cough last longer. If you need help
quitting, talk to your doctor about stop-smoking programs and medicines. These can increase your chances of
quitting for good.

* Take an over-the-counter pain medicine, such as acetaminophen (Tylenol), iouprofen (Advil, Motrin), or naproxen
(Aleve). Read and follow all instructions on the label.

Andrew Mulings (MRN: 09562331) » Printed at 1/11/22 3:59 AM Page 2 of 3 Epic

 

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 30 of 45

* Do not take two or more pain medicines at the same time unless the doctor told you to. Many pain medicines
have acetaminophen, which is Tylenol. Too much acetaminophen (Tylenol) can be harmful.

* Ifyou were given a spirometer to measure how well your lungs are working, use it as instructed. This can help your
doctor tell how your recovery is going.

* To prevent pneumonia in the future, talk to your doctor about getting a flu vaccine (once a year) and a’
pneumococcal vaccine (one time only for most people).

 

——When should you-call for help?

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Call 911 anytime you think you may need emergency care. For example, call if:
* You have severe trouble breathing.
Call your doctor now or seek immediate medical care if:

* You cough up dark brown or bloody mucus (sputum).

* You have new or worse trouble breathing.

* You are dizzy or lightheaded, or you feel like you may faint.

Watch closely for changes in your health, and be sure to contact your doctor if:
* You have a new or higher fever.

* You are coughing more deeply or more often.

* You are not getting better after 2 days (48 hours).
* You do not get better as expected.

Where can you learn more?

Go to https://mychart.montefiore.c

Enter D336 in the search box to learn more about "Pneumonia: Care Instructions.”
Not on MyChart? Go to https://mychart.montefiore.org and click the "Signi Up Now" link to request an activation code.

Current as of: July 6, 2021 Content Verston: 13.0

© 2006-2021 Healthwise, Incorporated.

Care instructions adapted under license by Montefiore Medical Center. If you have questions about a medical condition
or this instruction, always ask your healthcare professional. Healthwise, incorporated disclaims any warranty or liability
for your use of this information.

Andrew Mulings (MRN: 09562331) » Printed at 1/11/22 3:59 AM Page3of3 Epic

 

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_Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 31 of 45

 

 

 

  

 

   

 

 

 

 

 

 

Amylase “isreeitee (Normal) *
Specimen: Blood
AMYLASE 97 U/L
B NATRIURETIC PEPTIDE [1 276617274] (Abnormal) Collected: 01/11/22 0051
—____ Specimen: Blood Updated-o1/1 1/22 O48
NT-PRO B 160 * pg/mb
NATRIURETIC
PEPTIDE
Comment: Recommended medical decision thresholds, by age group, are:
Patients < 75 years: 125 pg/mL
Patients >= 75 years: 450 pg/mL
Basic Metabolic Panel [1276617273] (Abnormal) Collected: 01/11/22 0057
Specimen: Blood Updated: 01/11/22 0149
BUN 16 mg/dL
CALCIUM B87 mg/dl
r CHLORIDE 105 mmol/L
C02 24 mmol/L
CREATININE 1.260 mg/dL- |
“GLUCOSE 4109 * mg/dL i
POTASSIUM 44 "mmol/L
SODIUM 135 mmol/L i
ANION GAP 6.0 ¥ mmol/L i
BUN/CREAT 12.7
i - RATIO i
' EST.GLOMERUL 61.89 mL/min ]
AR FILTRATION
RATE
EST.GFR 74.89. . mL/min
AFRICAN |
AMERICAN
OSMOLALITY 272 ¥ mos/kg
CALCULATION
‘ CBC [1276617282] (Abnormal) Collected: 01/11/22 0051 4
‘ Specimen: Blood — Updated: 01/11/22 0131 :
WBC . 16.76 ™ KfuL
RBC 3.80 ¥ M/uL
HGB . 41.3¥ g/dL
HCT 33.0 '¥ %
MCV 86.8 fL '
MCH 29.7 pg i
MCHC 34.2 g/dL i
RDW-CV 12.6 %
PLT 389 K/uL ‘
MPV 9.8 fk
CBC, Automated [1276617271] (Abnormal) Collected: 01/11/22 0051 :
Specimen: Blood Updated: 01/11/22 0131
Narrative:
The following orders were created for panel order CBC, Automated. i
Procedure Abnormality Status
CBC[1276617282} Abnormal Final result

Mulings, Andrew DOB: 11/29/1976 ' Page 1 of 4

 
 

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Lab and Imaging astieg (continued)

se.7:22-cyv-07922-CS Document 2 Filed 09/15/22 Page 32 of 45

 

    

   

 

Uni
rders.

 

Please view results for these tests on the individual o

 

 

CT ABDOMEN AND PELVIS - ROUTINE - WITHOUT IV CONTRAST Collected: 01/11/22 0136
[1276617280]

Updated: 01/11/22 0140

Narrative:

PROCEDURE: CT ABDOMEN AND PELVIS WITHOUT IV CONTRAST
COMPARISON: None

 

 

ae

INDICATIONS: cough

TECHNIQUE: CT images were created without intravenous contrast. This CT was performed utilizing dose

reduction software.

FINDINGS:

Lung bases show multiple severe patchy and consolidative opacities in both lungs that can be multifocal infectious
versus inflammatory interstitial pneumonitis. Trace bilateral pleural fluid seen. Spleen, gallbladder, adrenal glands,
left kidney and pancreas are normal. Enlarged liver measures 20 cm in craniocaudal dimension. 3 mm
nonobstructing right renal stone is seen. There is‘no bulky lymphadenopathy. Moderate stool noted. Bowel loops
are normal. ‘No appendiceal inflammation seen. Aorta, bladder, prostate and seminal vesicles are normal. L5-S1
DDD noted. Mild pelvic free fluid noted.

CONCLUSION:

‘1. Multiple severe patchy and consolidative opacities in both Jungs that can be multifocal infectious versus

inflammatory interstitial pneumonitis.

2. Trace bilateral pleural fluid.

3. 3mm nonobstructing right renal stone.
4. Hepatomegaly.

5. Mild pelvic free fluid.

6. L5-S1 DDD.

Dictated by: Siddiqui, Pervez on 01/11/2022 at 1:13 AM
Approved by: Siddiqui, Pervez on 01/11/2022 at 1:36 AM

 

 

Creatine Kinase [1276617275] (Normal) Collected: 01/11/22 0054
Specimen: Blood , Updated: 01/11/22 0149
CPK 58 UL
ECG 12 Lead [1276617266] Collected: 01/11/22 0111
Updated: 01/11/22 0111
Ventricular Rate 89 BPM
Atriat Rate 89 BPM
P-R INTERVAL 142 ms
QRS Duration 94 ms
QT Interval 354 ms
QTc 430 ms
CALCULATION(B
EZET)
P Axis 52 degrees
R Axis 26 degrees
T Wave Axis 67 degrees

Impression:

Normal sinus rhythm
Normal ECG

Mulings, Andrew DOB: 11/29/1976 . Page 2 of 4

 

 

 
 

2-Cv-07922-CS Document 2 Filed 09/15/22 Page 33 of 45°

Lab and Imaging Results ¢ conemued)

 

a - -Malue
No previous ECGs available

FLU/RSV + SARS-CoV-2 [1276617286] (Normal)

Specimen: Swab from Nasopharyngeal
Influenza A Negative

 

Collected: 01/41/22 0139
Updated: 01/11/22 0233

Comment: Test Methodology: RT-PCR based molecular diagnostic testing.

Influenza B Negative

 

Comment: Test Methodology: RT-PCR based molecular diagnostic testing.

RSV Negative
SARS-COV2 Negative
(COVID 19)

Comment: Test Methodology: RT- PCR based molecular diagnostic testing.

Narrative:

The Xpert Xpress SARSCoV-2/Flu/RSV test is only for use under the Food and Drug Administration's Emergency

Use Authorization.
‘ Lipase [1276617276] (Normal)
Specimen: Blood —

Collected: 01/11/22 0051
Updated: 01/11/22 0149

 

 

 

 

Narrative:

New testing methodology as of December 2021.

XR chest - portable AP [1276617279]

Narrative:

PROCEDURE: XR CHEST - PORTABLE AP

COMPARISON: None.

INDICATIONS: r side cp

Mulings, Andrew DOB: 11/29/1976

 

LIPASE 122 U/L
~Magnesiunr [1276617277] (Normal) Collected: 01/11/22 0051
Specimen: Blood Updated: 01/11/22 0149 |
MAGNESIUM 2.3 mg/dL.
Manual Differential [1276617284] (Abnormal) Collected: 01/11/22 0051
Specimen: Blood Updated: 01/11/22 0304
SEGMENTED 90.0 ~ %
NEUTROPHIL
ABSOLUTE 45.08 ™ K/uL
NEUTROPHIL
COUNT
LYMPHOCYTE 5.0 %
MONOCYTE 5.0 %
PLATELET Adequate
ESTIMATE
POIKILOCYTOSI 94 1!
$
TARGETCELLS 144!
ELLIPTOCYTOSI 44 !
s
ACANTHOCYTO 441!
SIS
ECHINOCYTOSIS 94 !
TROPONIN | [1276617278] (Normal) Collected: 01/11/22 0054
Specimen: Blood Updated: 01/11/22 0146
TroponinI-HS 5.500 ng/L

Collected: 01/11/22 0113
Updated: 01/11/22 0140

Page 3 of 4

ef ot

 

 

 
 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 34 of 45
Lab and Imaging Results (continued)

“Procedure "Component Value Units"

 

 

 

 

i FINDINGS:

LUNGS: Moderate bibasilar atelectasis and/or pneumonia noted.
VASCULATURE: Normal. Unremarkable pulmonary vasculature.

- CARDIAC: Normal. No cardiac silhouette abnormality or cardiomegaly.
MEDIASTINUM: Normal. No visible mass or adenopathy,
PLEURA: Small bilateral effusions noted

 

 

—_§| 6THER-—_Negative:

CONCLUSION: Moderate bibasilar atelectasis and/or pneumonia and bilateral pleural effusions.

Dictated by: Siddiqui, Pervez on 01/11/2022 at 1:12 AM
Approved by: Siddiqui, Pervez on 01/11/2022 at 1:13 AM

arte

Mulings, Andrew DOB: 11/29/1976 . Page 4 of 4

 

 

 

 
 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 35 of 45
FORM 3105 (11/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

AMBULATORY HEALTH RECORD PROGRESS NOTE

 

Name Date of Birth

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Subjective: Ki AS he sti a . Last Name Multings

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Signature/Provider # RN NGee Order/Provider et ‘ime

 

 

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Signature/Provider # RN Transcribing Order/Provider #/Date/Time
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Subjective pl ce L. k- Last Name
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Assessment: Nine Sn, O4) tk lh / p "

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Plan: - Anlyw pos“ &1P i .

 

 

Objective: » tt > Kor Cent bud aol, {* WU Date [Ga 24 Time As > Are

 

 

 

Signature/Provider # > { SY RN Transcribing Order/Provider #/Date/Time

Continue entry into next box if necessary.

 

 
 

STATE OF NEW: YORK ODER APS MENTLOR-CORRECTIONS!&/COMMUNIFOSUFERVISION

RMuU/Infirmary Progress Notes

Name: MuUlines  Adyeu) DIN: O245256 pos: _u/aq/7 Faeitity. FCC

 

Date

Time -
(am/pm)

Health Provider Progress Note

 

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Form 3178 (9/17) File: Progress Notes

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~ Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 37 of 45

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9 ® Nuva:
6 ° Health.

Putnam Hospital Center
670 Stoneleigh Ave

. Carmel, NY 10512-
(845) 279-5711

MR#: 311061783

Account # 11253266

MULINGS, ANDREW . . Male
DOB: 11/29/1976 45 years

LOCATION: 3 North: 366;A

ADMIT: 1/12/2022 DISCHARGE:

 

 

 

 

 

i H and P Reports
DOCUMENT NAME: History and Physical
SERVICE DATE/TIME: 1/12/2022 16:34 EST
RESULT STATUS: Auth (Verified)

PERFORM INFORMATION:
SIGN INFORMATION:

t L
patlent arrived from Fishkill Correction with two corrections officers and mobile life staff. Ongoing
had difficulty breathing at facility, is currently on 15 liters, lung sounds diminished, was at

Saint Lukes yesterday, and given zpac
Hi Pri

Patient is a 45 years old man from Department of Corrections with history of
hypertension who presented to emergency room with progressive worsening shortness
of breath associated with his dry mild productive cough, subjective fevers, increased
“night sweats and pléuritié Ghést discomfort.

Symptoms started approximately 2 weeks ago. He was seen in St. Luke's hospital on

Apel, Anatoly (1/12/2022 16:46 EsT)
Apel,Anatoly (1/12/2022 16:46 EST)

Hi

Bilateral pneumonia

Bilateral pulmonary embolism

Hypoxemia
Historical

No qualifying data

Ffuarix PF Quadrivalent 2021-2022, IM, As

directed
guaifenesin-codeine 100 mg-10 mg/5 mL,

Monday, was diagnosed with community-acquired pneumonia and was discharged back Oral, q4hr, PRN

to correctional facility on Z-Pak. Patient symptoms continue to deteriorate and patient

was brought to PHC emergency room for reassessment.

On arrival to ED, the patient was saturating in high 80s. He was noted to be mildly

tachypneic with respiratory rate in mid 20s. There was no fever

Lovenox, 83 mg Subcutaneous, Once
Lovenox, 80 mg Subcutaneous, q24hr
{specified start)

NS 1,000 mL, IV Infusion

pneumococcal 23-polyvalent vaccine, IM, As
directed

Chest x-ray Chest x-ray showed bilateral basal infiltrates/consolidation. Subsequently he Rocephin iV 1 gm + Sodium Chloride 0.9%

underwent CT angiogram of the chest which showed bilateral pulmonary emboli as
without clear evidence of right heart strain. Patient was also noted to have bibasilar

infiltrates suggestive of possible underlying pneumonia.

IV Solution 10 mL, 1 gm iV Push, q24hr
(specified start)

Saline Flush 0.9%, IV, q12hr, PRN
Saline Flush 0.9%, IV, Daily

Rapid COVID-19 test came back negative. As per patient, he had negative rapid test on Tylenol, 650 mg Oral, q4hr, PRN

December 22 and on Monday at St. Luke's Hospital, He is not vaccinated against

COVID,

Review of symptoms: Patient reported left calf tenderness

Physicai Exam:
Vitals & Measurements

T: 97.5 °F (Oral) HR: 65 (Monitored) RR: 24 BP: 124/78 SpO2: 93% WT: 83 kg

BMI: 24.78 BMI: 24.78

EYE: PERRL, conjunctiva clear
ENT: Good dentition, oropharynx clear
NECK: No masses, thyroid normal

 

Report Request iD: 104047436

Page 1 of 2

Zithromax (VPB, 500 mg IV Piggyback,
. 424hr (specified start)

Home Medications (5) Active

amlodipine 5 mg oral tablet 5 mg = 1 tab,
Oral, Daily

azithromycin 250 mg., Oral, See comments
docusate sodium 100 mg, Oral, BID
ibuprofen 600 mg., Oral, BID

polyethylene glycol 3350 17 gm, Oral, Daily

, Constitutional/General: Well developed, well nourished, vitals reviewed llergi

No active allergies

Printed Date/Time: 1/18/2022 15:39 EST

This document contains confidential patient information which is protected under Federal and State iaw. If you are not the intended
recipient, please contact the Health Information Management Department at (845) 437-3020,

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 38 of 45

   

- Health.

Putnam Hospital Center

> Nuvance MR#: 311061783

Account #: 11253266

MULINGS, ANDREW Male
DOB; 11/29/1976 45 years

LOCATION: 3 North; 366: A

 

 

 

 

 

 

€V: RRR, normal $182, no murmur, 2+ DP pulses, no JVD, no edema, + left calf

670 Stoneleigh Ave . ADMIT: 1/12/2022 DISCHARGE: i

Carmel, NY 105812-
(845) 278-5711

{— Hand P Reports

RESP. Decreased breath sound at bases Social History:

i

|

tenderness

ABDOMEN: Soft, nontender, no HSM |
LYMPH: No cervical or supraclavicular adenopathy
SKIN: Warm, dry, no rashes .

NEURO: CN II-XIt intact grossly, sensation intact
PSYGHIATRIC: Oriented x3, normal mood and affect .

Diagnosis:
1. Acute hypoxic respiratory failure secondary to bilateral! pulm
emboli's and/or pneumonia, ,
Despite of negative rapid: COVID-19 test x3, COVID-19 infection-remains high on
differential given his unvaccinated status, congregate
settings and unexpiained/unprovoked bilateral PE,
~~ Cannot rule out underlying bacterial pneumonia
2. Hypertension
3. Mildly elevated creatinine. Probably prerenal azotemia due to dehydration

Assessment/Plan:

~ Patient will be admitted to medical/surgical floor with remote telemetry
-Supplemental oxygen

-Continue isolation

-Start Lovenox, full dose

-IV fluid hydration

-Echocardiogram in a.m.

-Bilateral lower extremity Doppler to rule out DVT

-COVID-19 PCR

-Rocephin/azithromycin IV

-Check procalcitonin level

Due to acute illness that cannot be effectively managed in an outpatient setting, my

clinical judgment is that this patient will require inpatient hospitalization with a stay
spanning at least two midnights.

Electronically signed by

 

Apel, Anatoly 01/12/2022 16:46 EST

Lives with DOC.

Former smoker, Household tobacco
concerns: No.

Family History:
No family history of thrombophilia, sudden

death

‘Labs {Last four charted values)
WBC HH 21.6 (JAN 12)

Hgb 111.2 (JAN 12)

Het 133.3 (JAN 12)

Plt 372 (JAN 12)

Na 137 (JAN 12)

K 4.8 (JAN 12)

Ct 103 (JAN 12)

Cr H1.35 (JAN 12)

BUN H26.0 (JAN 12)
Glucose Random H109 (JAN 12)
PT H17.4 WAN 12)

INR H1.6 (JAN 12)
Troponin L<0.01 (JAN 12}

Diagnostic Results:
Chest x-ray: Bilateral basilar infiltrates

CT angiogram: Bilateral PE, Basilar
infiltrates

Report Request ID: 104047436 Page 2 of 2 Printed Date/Time: 1/18/2022 15:39 EST

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recipient, please contact the Health information Management Department at (845) 437-3020.

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22. Page 39 of 45

MR#: 311061783
Account #: 11253266
MULINGS, ANDREW — Mate
DOB: 11/29/1976 45 years
Putnam Hospital Center . LOCATION: 3 North; 366; A
670 Stoneleigh Ave ~ ADMIT: 1/12/2022 DISCHARGE:
Carmel, NY 10512-
(845) 279-5711

 

 

 

 

 

 

Discharge Documentation

- Pulmonary

   

Blood

clot forma

and travals
to the lung

A pulmonary embolism occurs when a blood clot forms
in a vein and travels to the lungs.

How is pulmonary embolism diagnosed?

Your healthcare provider examines you and asks about your symptoms and health history, You may also have one or more of the
following:

*Blood tests to check for blood clotting or other problems
*lmaging tests to look for clots in the veins or lung
. *Electrocardiography. (ECG) to test how well the heart is working

How is pulmonary embolism treated?

. Report Request ID: 104057451 Page 13 of 31 Printed Date/Time: 1/18/2022 17:35 EST

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recipient, please contact the Health Information Management Department at (845) 437-3020.

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 40 of 45

Result Details

Patient: MULINGS, ANDREW Printed by: Faron SW CM, Ewelina
MRN: 311061783 Printed on: 1/18/2022 11:58 EST

SARS~CoV-2 PCR (NA): Negative

 

ert

 

SARS-Cov-2 PCR: Negative

First Test?.: Unknown

Employed in healthcare?.: Unknown
Symptornatic as defined by CDC?.: Unknown
Hospitalized?.: Unknown

ICU?.: Unknown,

Resides in congregate care setting?.: Unknown
Pregnant?.: Unknown

Occupation/School (NYS resident).: NA
Employer/School Name (NYS resident).: NA.
Employer/Schoo! Address (NYS resident).: NA
Employer/School City (NYS resident).: NA
Employer/School State (NYS resident).: NA
Employer/School Zip Code (NYS resident).: NA
Employer/Schosl Phone (NYS resident).: NA
On Scholl Premises Previous 7 days(NYS).: Unknown
Contributor System: PowerChart

Accession Number: 000002022012007384
Status: Auth (Verified)

Source Type: Nasophary Swab

Source:

Collected on January 14, 2022 12:47 EST

 

TL.) (Medium Importance) Result Comment by Contributor_system, Nuvance East Ref
, , Page 1

 

 

 
 

 

S Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 41 of 45

Result Details
Patient: MULINGS, ANDREW .

Printed by: Faron SW CM, Ewelina

MRN: 311061783 Printed on: 1/18/2022 11:58 EST

 

Lab on January 14, 2022 22:19 RST

Tae di de kk ke dk deb ok kok dk
feast Performed by:

 

 

 

Danbury J0Spitai Department of Patholegyand—baboratory Medicine
24 Hospital Avenue, Danbury, CT 06810 203- ~739-7453
CLIA# 07B0101031 Daniel Cruser, MD, Director

REAR EEE EKER EEK KEE

Action List:
Order by Apel, Anatoly on January 12, 2022 16:09 EST
Action status: Completed

Action status: Completed

Action status: Completed

 

- Review by Vielot RN, Myglide J on January 14, 2022 22:42 EST
Action status: Completed

This test was performed at: «
Putnam Hospital Center Laboratory, 670 Stoneleigh Ave, Carmel, NY,105

 

 

VERIFY by Contributor_system, Nuvance East Ref Lab on January 14, 2022 22

Perform by Contributor_system, ‘Nuvance East Ref Lab on vanuary 14, 2022 22

12, Ui

 

 

Page 2

 

 

 

 
 

 

Case 7:22-cv-07922-CS Document2 Filed 09/15/22 Page 42 of 45

FORM 3181 (7/11) STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
Division of Health Services

ADMISSION & DISCHARGE SUMMARY

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_ Patidit's Name DIN Facllity

 

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Date/Time Completed Physigtarr& Signaffre/tD #
DISCHARGE SUMMARY

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"Date/Time Completed Physician's Signature/ID #

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Original - Active Health Record - Infirmary Divider
Copy - Inactive Health Record

 

 

 

 
 

 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 43 of 45

 

 

 

 

 

 

 

 

 

 

Grievance Number Desig ‘Code Date Fifad
. FCF-0046-22 {22 02/14/22
1 EW: Corrections and
_ Stare : Community Supervision Associaled Gases Haaring Dale
ee 05/12/22
KATHY HOCHUL ANTHONY J. ANNUCC] Faailily
ee avrvr—eve Fishkit- CerrectionatFacitity
Tille of Grievance .
INCARCERATED GRIEVANCE PROGRAM | Exposure To Cold Caused Medical Issues
CENTRAL OFFICE REVIEW COMMITTEE

 

GRIEVANT’S REQUEST UNANIMOUSLY ACCEPTED IN PART

Upon a full hearing of the facts and circumstances presented in the instant case, and upon
recommendation of the Division of Health Services, the action requested herein is accepted in part.

CORC notes that the grievant's complaint has been reviewed by the Division of Health Services’ staff,
who advise that a complete investigation was conducted and the grievant is receiving appropriate
treatment. CORC further notes that the grievant was evaluated and treated by the provider, CORC
has not been presented with sufficient evidence of malfeasance by staff. CORC aiso notes that the
grievant's allegations regarding the CERT team from December 2021 are untimely and should have
been addressed at that time.

CORC recommends that the grievant address any further medical concerns to medical staff via
established sick call procedures.

With regard to the grievant's appeal, CORC notes that the investigation was conducted in accordance
with Directive #4040 and advises them to address security concerns to area supervisory staff, at that.
time, for the most expeditious means of resolution.

RAL/

 

 

This document has been electronically signed by Annemarie McGrath

 

 

 

 
 

Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 44 of 45

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DO. Rox IZ4S
Roweon, New YorK 12508

 

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Case 7:22-cv-07922-CS Document 2 Filed 09/15/22 Page 45 of 45

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